         Case 1:16-cv-03217-AJN Document 80 Filed 11/02/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                  11/2/2020


  Laura Honsaker,

                        Plaintiff,
                                                                                16-cv-3217 (AJN)
                 –v–
                                                                                     ORDER
  The City of New York, et al.,

                        Defendants.



ALISON J. NATHAN, District Judge:

       On October 15, 2020, the Court issued an Opinion & Order directing Novo Law Firm

and/or Hinshaw & Culbertson to serve the Order on Plaintiff and file an affirmation of service on

the public docket within two weeks of that order, and warning that failure to strictly comply with

this deadline. The Court again orders Novo Law Firm and/or Hinshaw & Culbertson by

November 6, 2020. The Court may order sanctions if the aforementioned fail to comply or fail

to show cause as to why the deadline cannot be complied with.



       SO ORDERED.

 Dated: November 2, 2020
        New York, New York                       ____________________________________
                                                           ALISON J. NATHAN
                                                         United States District Judge
